NAME AND ADDR.ESS OF SENDéR:

Scott A. Kronland (171693)

7

` TELEPHONE No.: -

Altshuler, Berzon, Nussbaum, Rubin and Demain

177 Post Street, Suite 300
San Francisco, CA 94108

1

 

insert name of court judicial district or branch court, if any and Post Off ce and Street Address:
Superior Court of California, County of Alameda, René C. Davidson Alarneda

County Courthouse
1225 Fallon Street
Oakland, CA 94612

 

For Court Use Only:

 

PLA|NT|FF:

JANE DOE I, et al.

 

DEFENDANTZ

LAKlREDDY BALI REDDY, et al.

 

 

NOT|CE AND ACKNOWLEDGMENT OF RECE|PT ease N“'“be"

 

 

2002069752

 

(|nsert name of individual being served)

This summons and other documents(s) indicated below are being served pursuant to Section 41‘5.30 of the Ca|ifornia
Code of Civil Procedure. Your failure to complete this form and return it to me within 20 days may subject you (or
the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a
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deemed served on the date you sign the Acknow|edgment of Receipt belowl if you return this form to me.

Dated; . . . . .OQth¢r.Z? .20.02. ..... M …

(Signature of sender)

 

ACKNOWLEDGMENT oF RECElPT

This acknowledges receipt of: (To be completed by sender before mailing)
1_ [X] A copy of the summons and of the complaint.
2_ l:l A copy of the summons and of the Petition (Marriage) and:
Blank Confidential Counseling Statement (Marriage)
|:1 Order to Show Cause (Marriage)
Blank Responsive Declaration
\:1 Blank Financial Dec|aration
[X] Other: (Specify)
The Civil Case Cover Sheet and Addendum to the Civil Case Cover Sheet; Notice of Related
Case and Proof of Service; and the Alternative Dispute Resolution Information Package.

(To be completed by recipient)

Dateofreceipt:. . ./o./.’.//d?` ....... _M» Attorney

(Signature of person acknowled ing receipt, with title if
acknowledgment 15 made on be al of another person)

Datethisformissigned: _1_1/_5/02 _ _ _ _ _ william Berland fox1 Lakireddy Bali Reddy

(Type or print your name a_nd name of entity if any,
on whose behalf this form 1s signed)

 

 

Fonn Approved by the .
Judicia| Council of Ca|ifornia CCP 415-30. 417-10.

111111111 11111¢1111111111~1. 1915 OptTional NoT1cE AND ACKNOWLEDGMENT oF REcE1PT °"‘"R'ZTL°T£'GC°““'

Judicial Council Forms far HorDacs M

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NAME ANDADDREss oF sENbER: TELEPHoNE No.: 41-5 421 -715 1 n _
Scott A. Kronland (171693) ( ) F°' C°u'* Use 0 ly-

Altshuler, Berzon, Nussbaum, Rubin and Demain
177 Post Street, Suite 300
San Francisco, CA 94108

 

insert name of court, judicial district or branch court, if any, and Post Oftice and Street Address: _
Supenor Court of Cal1f0rn1a, County of Alameda, Rene C. Davldson Alameda

County Courthouse
1225 Fallon Street
Oakland, CA 94612

PLA|NT|FF:

 

 

JANE DOE I, et al.

DEFENDANT:

LAKIREDDY BALI REDDY, et al.
Case Numb :
NOT|CE AND ACKNOWLEDGMENT OF RECE|PT er 2002069752

 

 

 

 

 

 

To; .Vijay Kl.lrr.lar. L.al.<ir.€ddy. . ................................. 1 . .

(|nsert name of individual being served)

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Dated: . . . , O<_>thcr_29_,_20_02_ _____ W MA/\

(Signature of sender)

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m Order to Show Cause (Marriage)
Blank Responsive Declaration
l:l Blank Financial Declaration

[X] Other: (Specify) '
The Civil Case Cover Sheet and Addendurn to the Civil Case Cover Sheet; Notice of Related

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(To be completed by recipient)

Date ofreceipt:. . /.4/3’/.‘.` ........ ’ Att°rney

(Signature of person acknowledging receipt, with title if
acknowledgment ls made on be al of another person)

william Berland for Vijay Kumar Lakireddy

(Type or print your name and name of entity, if any.
on whose behalf this form is signed)

Date this form is signed: 11./ 5./ 02 .

 

Jud::ci’an|nc);::::<i,|v:fdcbayli;::tia . CCP 415.30, 417.10;
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Judicial Council Forms far HorDacs

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NAME AND oREss oF sENDER: TELEPHoNE No_; 415 421-7151 , .
scott A. Al€ronland (171693) ( ) F° C°‘”‘ Use °"'y'
Altshuler, Berzon, Nussbaum, Rubin and Demain
177 Post Street, Suite 300
San Francisco, CA 94108

 

insert name of court, judicial distri_ct or branch court, if any, and Post Ofiice and Street Address: _
Supenor Court of Cahfornla, County of Alameda, Rene C. Davldson Alameda

County Courthouse
1225 Fallon Street
Oakland, CA 94612

 

 

PLA|NTIFF:

JANE DOE I, et al.

 

DEFENDANT:

LAKIREDDY BALI REDDY, et al.

 

KN WLED Case Number:
NOT|CE AND AC O GMENT OF RECE|PT 2002069752

 

 

 

 

To; .P.r.as.ad. L.alzir.ed.dy . . . . . . . . . . . . .....
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. .O¢be.€r.Z?,.ZQOZ . . . . . M ii `

(Signature of sender)

Dated: .

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I:| Order to Show Cause (Marriage)
l:| Blank Responsive Dec|aration
l___l Blank Financial Deciaration

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(To be completed by recipient)

§ ,
Dateofreceipt:. ./."/3//0)`_ _ _ _ _ , _ _ ' ` , Attol`ney

(Signature of pers_on acknowled in receipt, with title if
acknowledgment 1s made on be al of another person)

Datethisformissigned: .11/5./(.)2. . . . .. william Bel`land for Pl`aSad LakiT-`edQY

(Type or print your name and name of entity, if anyl
on whose behalf th1s form is signed)

 

 

Jud|l::ci>:lnc:::rcci|v:fd(?:|i;:renia . CCP 415.30, 417.10;
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Judr`ciul Council Forms for Ha!Docs m

 

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" 'l
1 NAME AN.D ADDREss oF sENDER: TELEPHONE No.; (415) 421 -71 5 1 par Coun use only;

Scott A. Kronland (171693)

Altshuler, Berzon, Nussbaum, Rubin and Demain
177 Post Street, Suite 300

San Francisco, CA 94108

 

 

insert name of court, judicial distri_ct or branch court, if any, and Post Oche and Street Address: _
.Superlor Court of Cahfornla, County of Alameda, Rene C. Dav1dson Alameda

County Courthouse
1225 Fallon Street
Oakland, CA 94612

PLA|NT|FF:

 

 

JANE DOE I, et a1.

DEFENDANTZ

 

LAKIREDDY BALI REDDY, et al.
NOT|CE AND ACKNOWLEDGMENT OF RECE|PT ease Numbe“

 

 

 

2002069752

 

To; .Jayapr.ak.a$h.R.€d.dy L.al.<ir.€ddy .....................

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M!¢WL

(Signature of sender)

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The Civil Case Cover Sheet and Addendum to the Civil Case Cover Sheet; Notice of Related

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Dated; . . . . O¢th.er.29.,.2Q02. .....

 

(To be completed by recipient)

 

Date of receipt . . /‘/3.’/0.2'.~ ........ Attorney
(Signature of person acknowled in receipt. with title if
_ acknowledgment is made on begal?of another person)
Date this form is signed: _1]_./ 5 /0 2 Wi 1 1 i am Ber 1 and for Jayaprakash Reddy
` ' ` ` ' ` ` l..a k 1 r e'dd y

(Type or pn'nt your name and name of entity, if any,
on whose behalf this form is signed)

 

l_=om't Approved by_the _ CCP 415.30. 417.10;
Jud1c1ai Cou_nc1i of Cai1fom1a . ' Cal. Ruies of Court
Rewsed Effecrwe January1. 1975 OptTtIOrlal NOTiCE AND ACKNOWLEDGMENT OF RECE|PT adams `

Judicial Council Forms for HatDocs

 

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NAME AND ADDREss oF sENoER: TELEPHoNE No.: 415 421- 151 For Court Use On[y:

Scott‘A.L Kronland (171693)

Altshuler, Berzon, Nussbaum, Rubin and Demain
177 Post Street, Suite 300

San Francisco, CA 94108

 

insert name of court, judicial district or branch court, if any, and Post Oftice and Street Address: _
Superlor Court of Cal1fom1a, County of Alameda, Rene C.. Dav1dson Alameda

County Courthouse
1225 Fallon Street
Oakland, CA 94612

 

 

PLA|NTIFF:

JANE DOE I, et a1.

 

DEFENDANT:

LAKIREDDY BALI REDDY, et a1.

 

NoTlcE AND ACKNOWLEDGMENT oF REcElPT Case Number:

 

 

2002069752

 

 

To; .V¢nl<a.fe$war.a .R¢ddy. L.al.<it€ddy . ................................

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. . 091111»¢1.29_,.20.02. ..... W’l%“‘l\

(Signature of sender)

Dated: .

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M&_`,Q Attorney

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Datethisformissigned: ].']`/5_/0_2_ _ _ _ __ w]']]]-am B"»E\r]a 1 E n y

(T pe'or print your name and name of enti , if an _ '
onywhose behalf this form is signed) ty y Lak 1 T-` ed d Y

(To be completed by recipient)

./v./-’¢/_/_#_'~ ......... w§

   
 

Date of receipt: .

 

lForrn Approved by_the l CCP 415.30, 417.10;
Jud1c1al Counc1l of Cal1fom1a . Cal. Ruies of Court
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Judicial Cauncil Forms far HatDacs

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NAME AND ADDREss oF sENoER: TELEPHONE No.; 415 421-7151 ' u " ;
Scorc A. Kronland (171693) ) F°' C° “ Use °""
Altshuler, Berzon, Nussbaum, Rubin and Demain
177 Post Street, Suite 300
San Francisco, CA 94108

 

 

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Supenor Court of Callforma, County of Alameda, Rene C. Dav1dson Alameda

County Courthouse
1225 Fallon Street
Oakland, CA 94612

PLA|NT|FFZ

JANE DOE I, et a1.

DEFENDANTZ

 

 

 

LAKIREDDY BALI REDDY, et a1.
Ca e Number:
NOTiCE AND ACKNOWLEDGMENT OF RECE|PT 3 2002069752

 

 

 

 

 

To; PasandMadta$Cu.iSi.n¢ . . . . . . . . . . . . . .». ......................
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(Signature of pers_on acknowled in receipt, with title if
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William Berland for Pasand Madras Cuisine

(Type or print your name and name of entity, if any,
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Date this form is signed: ]_ ]_/ 5./ 0.2 .

 

J di=c`:rr|ncApprz.)ved by_the_ CCP 415.30, 417.10;
u 1c1a ou_nc1iof Cal1fom1a . Cal. Ruies of Court
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Judicial Council Farms for HotDacs "`

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NAME AND AooREs F sENoER: TELEPHoNE N .; 415 421-7151 .
Scorr A. Kronl§§°d (171693) ° ( ) F°' C°"" Use °"‘y'
Altshuler, Berzon, Nussbaum, Rubin and Demain
177 Post Street, Suite 300
San Francisco, CA 94108

 

insert name of court, judicial district or branch court, if any, and Post Office and Street Address: _

Superior Court of Califomia, County of Alameda, Rene' C. Dav1dson Alameda
County Courthouse

1225 Fallon Street
Oakland, CA 94612

 

 

PLA|NTlFFZ

JANE DOE I, et al.

 

DEFENDANT:

LAKIREDDY BALI REDDYj et a1.

 

 

ND ACKNOWLEDGMENT OF R Case Numberi
NOT|CE A ECE|PT 2002069752

 

 

 

To; .Pasa.nd I.n<>.- ...........................................

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Dateofreceipt:. . .“3/. .‘.L ....... 05 § Attorney

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Datethisfon'nissigned: 11/5./0.2. . . . . . william Bef`land fOI` PaSal'ld InC.

(Type or print your name and name of entity. if anyI
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l’orm Approved by'the _ CCP 415.30, 417.10;
Judxclal Councll of Cal1fom1a . Ca|_ Ruies of Court
Rev1sed Effect\ve January1, 1975 Opthonal NOT|CE AND ACKNOWLEDGMENT OF RECE|PT Rule 1216 l

Judicr'al Council Form.r for HotDocs v

' _ Altshuler, Berzon, Nussbaum, Rubin and Demain

 

_ : 7 ' ` /1
NAME AND ADDREss 01= sENoER; TELEPHoNE No.: 4 - 1 Fo, Coun Use On,y;

Scott A. Kronland (171693)

177 Post Street, Suite 300
San Francisco, CA 94108

 

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Superlor Court of Cahfornla, County of Alameda, Rene C. Dav1dson Alameda

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1225 Fallon Street
Oakland, CA 94612

PLAlNTlFF:

JANE DOE I, et a1.

DEFENDANT:

LAKIREDDY BALI REDDY, et al.
NOT|CE AND ACKNOWLEDGMENT OF RECE|PT Case Numbe"

 

 

 

 

 

 

2002069752

 

To; .Laki.r@.d€.ly.lnv¢$tmsnf .CQ. ....................................

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Attorney

 

1n receipt, with title if
al of another person)

Date of receipt:. . . l a/ 31 / °?` ......
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(Signat of person acknowledg`

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Datethisformis signed: ]_`]'{5_/0_2 _ William Befland for Lakireddy Investment Cc
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`___case_s;oa-@»,eoss? ' 12./oA vega Q 1111s
NAME pNo_AooREss oF sENoER; TELEPHoNE No_; 415 421-7151 Fo, Coun Use On,y:

Scot't A. Kro'nland (171693)

Altshuler, Berzon, Nussbaum, Rubin and Demain
177 Post Street, Suite 300

San Francisco, CA 94108

 

insert name of court, judicial district or branch court, if any, and Post Oftice and Street Address: _

Superior Court of Califomia, County of Alameda, René C. Dav1dson Alameda
County Cou;rthouse

1225 Fallon Street
Oakland, CA 94612

PLAlNTlFF:

 

 

JANE DOE I, et a1.

DEFENDANTZ

 

LAKIREDDY BALI REDDY, et a1.
NOT|CE AND ACKNOWLEDGMENT OF RECE|PT Case Numberf

 

 

 

 

2002069752
To; .L-.B.- R@.Cl<ly.E$tQt€. C.O- ......................................

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Dated: . . . . .O(.:th.er.zQ,.zO.Oz. ..... M %&\'A__` 1

(Signature of sender)

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l:l Order to Show Cause (Marriage)
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i:| Blank Financ1a1 oec1aration
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(To be completed by recipient)

Date ofreceipt:. ./.0 /3/ /‘. k ....... w § 0 ’ Attorney

(Signature o(pers_on acknowled ing receipt, with title if
acknowledgment ls made on be al of another person) '

Datethisformissigned: _]_]_/5_/0_2 _ _ _ _ _ _ william Berland for L. B. Reddy Estate C

(Type or print your _name and name of entityl if any.
on whose behalf t.hrs form is signed)

 

Form Approved by the 1 10'
Judicial Council of California CCP 415.30.4 7- .

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NAME AND ADo_REss oF sENoER TELEPHoNE No.; ( 1 ) 21- 151 For Cou,i Use Oniy;

Scott A. Kronland (171693)

Altshuler, Berzon, Nussbaum, Rubin and Demain
177 Post Street, Suite 300

San Francisco, CA 94108

 

insert name of court, judicial district or branch court, if any, and Post Off ce and Street Address:
Superior Court of California, County of Alameda, René C. Dav1dson Alameda

County Courthouse
1225 Fallon Street
Oakland, CA 94612

 

 

PLA|NTlFF:

JANE DOE I, et a1.

 

DEFENDANT:

LAKIREDDY BALI REDDY, et a1.

 

NOT|CE AND ACKNOWLEDGMENT OF RECE|PT Case Numberi

 

 

2002069752

 

 

(lnsert name of individual being served)

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October 29, 2002 dm‘ 16 §

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Date ii,is form is signed _11_/ 5_ /(?2 _ Wi 1 1 1 am Ber 1 and for Jay Construc t ion
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1 NAME AND AooREss oF sENbER: TELEPHoNE No.: (415) 421-7151 Fo, C°u,i use Oniy

Scott A. K-ronland (171693)

Altshuler, Berzon, Nussbaum, Rubin and Demain
177 Post Street, Suite 300

San Francisco, CA 94108

 

County Courthouse

insert name of court, judicial district or branch court, if any, and Post Off ce and Street Address:
Superior Court of California, County of Alameda, René C. Davidson Alameda

1225 Fallon Street
Oakland, CA 94612

 

 

PLAlNTlFF:

JANE DOE I, et a1.

 

DEFENDANT:

LAKIREDDY BALI REDDY, et a1.

 

 

AND ACKNOWL ENT F REC Case Number:
NOT|CE EDGM 0 ElPT 2002069752

 

 

 

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Dateofreceipt:. . ./Q/?.(/.o" ...... /N"~""J o ney

(Signature/of person acknowled in receipt, with title if
acknowledgment 1s made on be ai of another person)

 

 

 

Date this form is signed: .1.1/.5/.02_ Wil 1 iam Berland for Lakireddy Bal i Reddy
(Type or print your name and name of entity, if any, d / b/ a Reddy
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u icial Councii of California Ca|_ Ruies of Court
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Judicial Cauncil Form.\' for HotDacs

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1
NAME AND A~ooREss oF sENoER; TELEPHoNE No.; (415) 421-7151 Fo, Court Use Oniy;

Scott A. Kronland (171693)

Altshuler, Berzon, Nussbaum, Rubin and Demain
177 Post Street, Suite 300

San Francisco, CA 94108

 

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Superior Court of Califorma, County of Alameda, René C. Dav1dson Alameda
County Courthouse

1225 Fallon Street
Oakland, CA 94612

 

 

PLA|NT|FF:

JANE DOE I, et a1.

 

DEFENDANT:

LAKIREDDY BALI REDDY, et a1.

 

 

ACKNOWLEDGM Case Number:
NOT|CE AND ENT OF RECE|PT 2002069752

 

 

 

101 .A<.>fi.ve. Te<;h.S<.>h.lfi.OnS ..................................

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Date ofreceipt:. . . . /0/3/./0.`4_. ..... l , AttO'i.`ney
(Signature erson acknowled in receiptl with title if
acknowi ment is made on be al of another person) _
11/6/02 William Berland for Active Tech Solutlons

Date this form is signed:

 

(Type or print your name and name of enti , if any,
on whose behalf this form is signed) ty

 

Form Approved by the d
Judiciai Councii of California ccp 415'30' 417`10'

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Judicial Councii Forms for HotDocs

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NAMEAND»ADDRESS oF sENDER: TELEPHoNE No.; (415) 421-7151 ` FO, Court Use Oniyi
Scott A. Kronland (171693)
Altshuler, Berzon, Nussbaum, Rubin and Demain
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County Courthouse
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Oakland, CA 94612

PLA|NTlFF:

 

 

JANE DOE 1, et a1.

DEFENDANT:

 

LAKIREDDY BALI REDDY, et a1.
C N b r:
NOT|CE AND ACKNOWLEDGMENT OF RECE|PT 359 “'“ e 2002069752

 

 

 

 

 

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/ gnature of person acknowledgin receipt, with title if
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Judlcla| Councii of Cal1fom1a . Ca|_ Ruies of Court,
Revlsed Effectlve January 1. 1975 opthl'lal NOT|CE AND ACKNOWLEDGMENT OF RECE|PT Rule 1216

Judicial Councii Forms for HatDocs

